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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.

                        Plaintiff,
                                        Civil Action No. 1:17-cv-11008-MLW
                 v.
                                        REQUEST FOR ORAL ARGUMENT
CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and                  PUBLIC-
HOSPIRA, INC.                         REDACTED VERSION

                        Defendants.



  DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE NO. 10
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I.     INTRODUCTION

       Under Janssen’s theory of lost profits, Defendants never would have launched Inflectra®

in a “but for” world without infringement, meaning Janssen would have sold more Remicade® at

higher prices than in the real world. Ex. 1, Nicholson Rept. ¶¶ 55-57. This, of course, is not true

as Defendants had numerous non-infringing alternatives to the accused cell culture media that

would have allowed them to launch Inflectra® on time in the United States. Dkt. 303 at 5-10.

       But even if Janssen were correct, Pfizer would not have abandoned the market. Instead, it

would have launched Ixifi™, Pfizer’s other biosimilar infliximab product, no later than December

2017 when it was approved by the FDA. Thus, in the “but for” world, Janssen would still face

biosimilar infliximab competition from Pfizer, just starting a year later. Both sides’ damages

experts discussed the potential launch of Ixifi™ in their reports, although they disagree on its

impact. Ex. 1, Nicholson Rept. ¶ 78 n.130; Ex. 2, Leonard Rept. ¶ 216. Perhaps not confident in

their expert defending his position, Janssen now seeks to exclude evidence and argument regarding

Ixifi™ from trial.

       Janssen’s argument for exclusion is based on two false premises. First, Janssen argues that

there might be some reason that Ixifi™ would not launch in the “but for” world, such as

“manufacturing problems, or because Ixifi is made using an infringing cell medium, or because

they have concluded it is an inferior product.” Dkt. 267 at 12. Nonsense. No case supports keeping

an economically advantageous alternative product from the alleged infringer off the market in the

“but-for” world for hypothesized, speculative manufacturing problems. Discovery and real world

events also disprove such speculation. Janssen knows that Ixifi™ is already FDA approved, and

Hospira’s corporate witness explained why it would not launch in the real world:



                       Janssen also knows the formula for the Ixifi™ media—because Defendants


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produced it during discovery—



                                      Janssen is not “left guessing why Pfizer/Hospira have not

commercialized [Ixifi].” Dkt. 267 at 12. It is clear from public information, deposition testimony

in this case, and documents which Defendants produced.

       Second, Janssen gins up a non-existent discovery dispute to keep properly disclosed

evidence related to Ixifi™ out of the trial. To be clear, Defendants did produce discovery on

Ixifi™, and Defendants do not seek to use any document that was not made available during the

discovery process or through public sources. If Janssen thought that Defendants’ responses were

lacking, Janssen should have met and conferred and, if that was unsuccessful, moved to compel.

“If [Defendants] failed to produce discoverable documents, this should have been brought to the

Court’s attention long ago, when the case was still in its discovery stage, not on the eve of trial.”

Falconer v. Penn Mar., Inc., 232 F.R.D. 34, 35 (D. Me. 2005). Having done neither, Janssen cannot

now complain.

       Janssen’s complaints do not justify excluding properly disclosed evidence from trial, and

its motion should be denied.

II.    JANSSEN’S EXPERT OPINED ON THE PRESENCE OF IXIFI™ IN THE “BUT
       FOR” WORLD, AND DR. LEONARD IS ENTITLED TO RESPOND

       Janssen’s economist, Dr. Sean Nicholson, conducted a lost profit analysis that purports to

compare the actual world, in which Remicade®, Inflectra®, and Renflexis® are on the market,

with a “but for” world, in which Inflectra® does not launch. Ex. 1, Nicholson Rept. ¶¶ 88-89, 92.

As part of his “but for” world analysis, Dr. Nicholson

                         Dr. Nicholson does not assert that Pfizer would not have launched Ixifi™

in the “but for” world, but rather that Ixifi™’s launch is



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                   Dr. Leonard disagreed with this assumption because



                                              Ignoring the launch of Ixifi™ in the “but for” world




       For instance, Dr. Nicholson calculates price erosion damages related to Remicade® as far

out as 2020 assuming both Inflectra® and Ixifi™ never launch, yet Ixifi™ was approved—and

therefore could have launched—in 2017. Id. ¶ 215. But

                                                                     Similarly, with regard to lost

volume, the launch of Ixifi™



                                                                                                Of

course, the existence of Ixifi™ did not appear out of nowhere.




       Janssen now attempts to foreclose Dr. Leonard from discussing the presence of Ixifi™ in

the “but for” world. But Dr. Nicholson’s report and discussion of Ixifi™ came out before Dr.

Leonard’s responsive report. Compare Ex. 1, Nicholson Rept. at 56 (signed January 19, 2018) with

Ex. 2, Leonard Rept. at 141 (signed March 29, 2018). And Dr. Nicholson admitted that Ixifi™ was

approved by the FDA in December 2017 in his report. Ex. 1, Nicholson Rept. ¶ 23. Janssen cannot

stop Dr. Leonard from discussing the presence of Ixifi™ in the “but for” world in direct response

to Janssen’s expert. See Aviva Sports v. Fingerhut Direct Mktg., Inc., 829 F. Supp. 2d 802, 834–

35 (D. Minn. 2011) (“It is the proper role of rebuttal experts to critique plaintiff[’s] expert[s’]




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methodologies and point out potential flaws in the plaintiff’s experts’ reports.”). Moreover, Dr.

Nicholson should not be immunized from cross examination on an issue he discussed in his own

report. See United States v. Mooney, 315 F.3d 54, 63 (1st Cir. 2002) (“any flaws in [expert’s]

opinion may be exposed through cross-examination or competing expert testimony”). Janssen’s

motion should be denied.

III.   DISCOVERY AND PUBLICLY AVAILABLE INFORMATION CONTRADICT
       JANSSEN’S POSITIONS

       As part of its gambit to preclude evidence or argument regarding Ixifi™, Janssen claims

that discovery failed to show why Pfizer did not launch Ixifi™. Thus, Janssen “guess[es]” that the

drug may not have launched because of “manufacturing problems, or because Ixifi is made using

an infringing cell medium, or because [it has] concluded it is an inferior product, or for some other

reason.” Dkt. 267 at 12. But Janssen’s argument is contradicted by the discovery record, and any

remaining questions Janssen may have are of its own making through its failure to ask during

depositions.

       Dr. Leonard notes that Pfizer has not launched Ixifi™, but that it could have launched it in

a “but for” world without Inflectra®. Ex. 2, Leonard Rept. ¶ 233. Far from being a baseless

assumption as Janssen contends (Dkt. 267 at 11), Dr. Leonard’s position is fully supported by the

record. In July 2016, Janssen deposed Antoine Pompe van Meerdervort, who, at the time was the

Head of Strategic Alliances for the Biosimilar Business at Pfizer.




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        Pfizer said it will not launch Ixifi (infliximab-qbtx) in the US as the company
        already has another Remicade biosimilar on the market, known as Inflectra
        (infliximab-dyyb) (the third Remicade biosimilar is Merck and Samsung
        Bioepis’ Renflexis (infliximab-abda)).

Dkt. 265-7 at 3. As one commenter stated, “[p]erhaps unsurprisingly, Pfizer has elected not to

cannibalize itself, and won't be launching Ixifi (infliximab-qbtx) in the U.S.” Ex. 5, 12/15/17

BioPharma Dive Brief at 2.




        Janssen’s speculation that there were technical issues with Ixifi™ is also untethered from

reality. For instance, Janssen suggests that there may have been “manufacturing problems” or

Ixifi™ may be “an inferior product.” But Ixifi™ is FDA approved—a fact that has been known

since December 2017. Ex. 1, Nicholson Rept. ¶ 23. Of course, in order for Ixifi™ to have been

approved by the FDA, it was shown to be biosimilar to Remicade® using a specific manufacturing

process, just like Inflectra®. Janssen’s arguments about Ixifi™ “manufacturing problems” or

“inferior[ity]” are baseless.

        Also baseless is Janssen’s suggestion that Ixifi™ uses an infringing cell culture medium.

As is clear from documents produced by Hospira during discovery,




                                                    None of Janssen’s experts opined that

                                                                                              the



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media used in the manufacturing process for Ixifi™ infringes, despite having access to the

formulation for                 the Ixifi™ media. Janssen’s argument that infringement might have

prevented Ixifi™ from launching is directly contradicted by documents produced by Defendants

during discovery and by Janssen’s admissions.

IV.      JANSSEN POINTS TO A NON-EXISTENT DISCOVERY DISPUTE TO COVER
         UP A PRODUCT THAT HURTS ITS CASE

         In order to avoid the negative impact of Ixifi™ on Janssen’s damages claim, Janssen

attempts to manufacture a discovery dispute, arguing that “Defendants refused to produce

responsive documents.” Dkt. 267 at 11. According to Janssen, because Defendants did not produce

documents on Ixifi™’s development and commercialization timeline, all information about Ixifi™

(including information made available during discovery) should be excluded from trial. Dkt. 267

at 11-12. This argument finds no support in fact or law.

         Janssen’s supposed hook is a single discovery request—RFP No. 5, which asked for




         Given the breadth of the request, Defendants objected on several grounds, including



Defendants reasonably limited their production to




      While Janssen now argues that Defendants should not have limited their response to Inflectra®,

in their letter pointing out supposed deficiencies in Defendants’ responses, Janssen did not even

mention Pfizer or Ixifi™. Ex. 7, 10/6/2017 Letter from A. Cohen to E. Cutri re Letter. Moreover,



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during the parties’ meet and confer regarding damages discovery issues in 2017, Janssen never

raised RFP No. 5 or Ixifi™. In any event, Janssen had knowledge of the relevant facts Defendants

rely on—that Ixifi™ uses a non-infringing cell media and is FDA approved for the same

indications as Inflectra®—during discovery.

       Janssen’s citation to a letter from April 2018 as supposedly evidencing Defendants’ refusal

to produce information about Ixifi™ fares no better. Janssen does not bother to attach its original

letter to its motion, which requested




                                                                                         According

to Janssen, this was information which Dr. Frohlich—not Dr. Leonard—was purportedly relying

on and which it argued was responsive to RFP Nos. 8–10 (not RFP No. 5).

       In any event, Defendants explained that Dr. Frohlich was not relying on any unproduced

documents, that RFP Nos. 8 and 9 were limited solely to CT-P13 (Inflectra®/Remsima®), and

Defendants had objected to RFP No. 10 more than six months earlier as irrelevant and unduly

burdensome. Dkt. 265 Ex. 8 at 2. Yet even though these requests came “weeks after the close of

fact discovery” and are irrelevant to Ixifi™’s impact on Janssen’s requested damages, Defendants

conducted a reasonable investigation into whether such documents existed. Ex. 9, 4/22/2018 Email

from G. Sanford to A. Cohen re Frohlich documents.

       At its core, Janssen’s motion “is a discovery motion in the guise of a motion in limine.”

Falconer, 232 F.R.D. at 35. Janssen complains that Defendants “objected to Janssen’s requests for

discovery concerning Ixifi,” and “limited their response to Inflectra.” Dkt. 267 at 11. Janssen goes

so far as to make the incredible claim that “Defendants refused to produce any documents




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concerning Ixifi.” Dkt. 267 at 12 (emphasis added). Of course, the discovery record shows that

assertion is false.




       Moreover, Janssen’s own discovery includes references to Pfizer’s infliximab biosimilar,

including its approval by the FDA.




                                                                                If Janssen felt



1
 And, of course, Janssen questioned at least Mr. van Meerdervort (see supra at 4-5) and Dr.
Beverly Ingram on Pfizer’s biosimilar product. Ex. 15, Ingram Dep. Tr. at 161.



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Defendants’ discovery was lacking, it could have engaged further with Defendants, and if that was

unsatisfactory, filed a motion to compel. It did not. It cannot now use a motion in limine to press

a stale discovery complaint that it did not timely pursue.

       Janssen cites a single case, N.J. Physicians United, which stands for the unremarkable

proposition that a party cannot rely on “any unproduced information.” Dkt. 267 at 13. In that case,

in a prior order “the Court unequivocally stated that [plaintiff's] damages related discovery was

deficient and directed [the plaintiff] to immediately produce said discovery or run the risk of

having the information barred later on.” N.J. Physicians United Reciprocal Exch. v. Boynton &

Boynton, Inc., No. CV 12-5610 (PGS), 2017 WL 3624239, at *11 (D.N.J. Aug. 23, 2017). It should

come as no surprise that the party’s expert was thus precluded from relying on that same

unproduced information. But that case is not applicable here.

       As discussed above, Defendants produced information regarding the cell media used for

Ixifi™ and presented witnesses with knowledge of Ixifi™. Further, public documents cited in the

parties’ expert reports, and Janssen’s own motion, confirm Pfizer’s reasoning for not launching

Ixifi™. Dr. Leonard is entitled to rely on this discovery and public documents. See United States

v. Damrah, 412 F.3d 618, 625 n.4 (6th Cir. 2005) (affirming district court which allowed expert

testimony based on books, press releases, and newspaper articles). Dr. Leonard is not relying on

any unproduced information. In direct response to Dr. Nicholson’s opinions, Dr. Leonard opines

that in the “but for” world, Pfizer would have no reason not to launch Ixifi™. If Janssen wishes to

cross-examine Dr. Leonard on that issue, it can. But the mere fact that Janssen does not like Dr.

Leonard’s opinions, which are based on facts available in discovery, is not a basis for excluding

Dr. Leonard’s opinions or immunizing Dr. Nicholson from cross examination on a product that

he discusses in his own expert report. See Mooney, 315 F.3d at 63 (“any flaws in [expert’s]




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opinion may be exposed through cross-examination or competing expert testimony”); Plumbers

& Pipefitters Nat. Pension Fund v. Burns, 967 F. Supp. 2d 1143, 1155 (N.D. Ohio 2013) (“Cross

‘may embrace any matter germane to direct examination, qualifying or destroying it, or tending to

elucidate, modify, explain, contradict or rebut testimony given by the witness.’”)

(citing Villanueva v. Leininger, 707 F.2d 1007, 1010 (8th Cir. 1983)).

V.     CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court deny Janssen’s

motion in limine to exclude evidence or argument related to Ixifi™.




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Dated: June 4, 2018                Respectfully submitted,

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                                   and Hospira, Inc.

                                   By their attorneys,

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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on June 4,

2018.

                                               /s/Andrea L. Martin, Esq.
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